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IN THE UNITED STATES DISTRICT COURT Le D
WESTERN DISTRICT OF TEXAS FEp
SAN ANTONIO DIVISION

UNITED STATES OF AMERICA, §
§
Plaintiff/Judgment Creditor, §
§
v. §
§

§ Case No. 5:19-cr-00905-DAE
WELLS FARGO BANK, N.A., §
§
Garnishee, §
§
V. §
§
NANCY ALMAGUER, §
§
Defendant/Judgment Debtor. §

WELLS FARGO BANK, N.A.’S ORIGINAL ANSWER TO WRIT OF GARNISHMENT
AND REQUEST FOR AWARD OF COSTS

TO THE HONORABLE JUDGE FOR THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS—DALLAS DIVISION:

COMES NOW Wells Fargo Bank, N.A., Garnishee in the above-captioned cause, files
this Original Answer to the Writ of Garnishment issued on October 27, 2021, and Request for an
Award of its Rule 677 costs, and would respectfully show the Court as follows.

1. The Writ was served on Garnishee on February 10, 2022, by delivery to

Garnishee's registered agent in Austin, Texas.

2. At the time the Writ was served on it, Garnishee was indebted to Nancy

Almaguer, spouse of Judgment—debtor, in the following amounts:

Account No. Amount!
XXXX8156 $52,001.33
xxxx9413 $5,214.93

 

1 This answer is filed as soon as possible. As a result, there may be additional deposits that come in post-answer but pre-
judgment. Amounts are adjusted in the agreed judgments to reflect and account for any post-answer changes.

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XXXX2221 $2,315.40

3. At the time the Writ was served on it, Garnishee was not in possession of any
other effects belonging to Defendant.

4. As of the date of this Original Answer to Writ of Garnishment, Garnishee is
indebted to Judgment-debtor in the sum of Fifty-Nine Thousand Five Hundred Thirty-one and
66/100 Dollars ($59,531.66).

5. As of the date of this Original Answer to Writ of Garnishment, Garnishee is not in
possession of any other effects belonging to Defendant(s).

6. Garnishee does not have any knowledge of any other person who is indebted to or
has possession of any other effects belonging to Defendant(s).

7. As a result of the service of the Writ of Garnishment, it has been necessary for
Garnishee to employ the undersigned attorneys to answer the Writ herein and to otherwise
represent it. Under Tex. R. Civ. P. 677, Garnishee is entitled to recover its costs and a reasonable
attorney's fee, and submits that a sum of at least $750.00 would be a reasonable attorney's fee. If
the debtor or other party disputes this Answer, reasonable additional fees are requested in the
amount of $250.00 per hour. In the event of an appeal to the court of appeals, Garnishee would
be further entitled to $2,500.00 as a reasonable attorney's fee. In the event of the filing of a
petition for review to the Texas Supreme Court, Garnishee would be entitled to an additional
$1,500.00. Should the petition be granted, Garnishee would be entitled to an additional
$2,500.00 as a reasonable attorney's fee.

8. To the extent the foregoing is insufficient; the Garnishee Bank generally denies
each and every allegation set forth on the pleadings as allowed under the Tex. R. Civ. P.

WHEREFORE, Wells Fargo Bank, N.A. holds the sum(s) above, pending the disposition

of this cause, and respectfully requests that, on final hearing of this cause, the following relief:

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1. That all claims to such sum be determined and adjudicated, and that Garnishee be
discharged from all liability to Plaintiff and Defendants respecting same.
2. That Garnishee recover against Plaintiff or Defendants, as provided in Tex. R.
Civ. P. 677, its costs and expenses, including a reasonable attorney's fee in a total amount of at
least Seven Hundred- Fifty and No/100 Dollars ($750.00).
3. For such other and further relief, general or special, at law or equity, to which
Garnishee may show itself justly entitled.
Respectfully submitted,
QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
By:  /s/ Brent W_Martinelli
BRENT W. MARTINELLI
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Counsel for Wells Fargo Bank, N.A.

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CERTIFICATE OF SERVICE

I certify that on February 25, 2022, I served a true and correct copy of the foregoing
pleading via first class mail and e-mail on the following counsel of record and all other parties as
listed:

Todd R. Keagle

Assistant United States Attorney
Steve E. Stewart

Assistant United States Attorney
601 N.W. Loop 410, Suite 600
San Antonio, Texas 78216
Steven.Sewart@usdoj.gov

/s/ Brent W. Martinelli
BRENT W. MARTINELLI

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STATE OF TEXAS
COUNTY OF DALLAS

VERIFICATION/DECLARATION (unsworn)

My name is Brent Martinelli and I am counsel of record for Wells Fargo Bank, N.A.,
herein named Garnishee. I have read the foregoing Original Answer to Writ of Garnishment as
counsel for the Bank. Based upon my research of the Bank's records concerning this matter, I can
attest that all factual statements contained in this Answer are based upon my personal knowledge
from review of such records, and declare under penalty of perjury such statements are true and
correct on this 25" day of February 2022. My office address is 1700 Pacific Suite 4545, Dallas,
Texas 75201.

/s/Brent Martinelli
Brent W. Martinelli

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